                                  Case 1:21-cr-00246-ABJ Document 145 Filed 02/01/23 Page 1 of 2
EXHIBITS
                                                    UNITED STATES OF AMERICA
Government                                                    VS.                                   Civil/Criminal No. 2 1 - c r - 2 4 6
Plaintiff
Defendant       X                                       Daniel Rodriguez, et al.
Joint
Court


Exhibit               DESCRIPTION OF EXHIBITS                          GOVERNMENT      MARKED FOR       RECEIVED    WITNESS       EXHIBITS SE
Number                                                                 OBJECTIONS      I.D.                 IN                    (date & time
                                                                                                        EVIDENCE

Category:    Video
000

001          Badalian restraining window breaker                     Hearsay, if it
                                                                     includes audio.

002          Exiting from inside the capitol after police say it’s   No objections.
             safe (20 seconds)

003          Info Wars Interview with Badalian                       Hearsay.


004          Badalian restraining window breaker                     Hearsay, if it
                                                                     includes audio.

005          Trump supporters stop window smasher                    Hearsay, if it
                                                                     includes audio.

006          RSBN Video at :50:20 Gina speaking to Badalian          No objections.


007          LOBS D.C. BURNING 18:08 Badalian righting a chair No objections.


Category:    Screen shots of text messages
                           Case 1:21-cr-00246-ABJ Document 145 Filed 02/01/23 Page 2 of 2
Exhibit            DESCRIPTION OF EXHIBITS            GOVERNMENT      MARKED FOR       RECEIVED   WITNESS   EXHIBITS SE
Number                                                OBJECTIONS       I.D.                IN               (date & time
                                                                                       EVIDENCE

008       Being saying “being on grounds isn’t illegal.”       Hearsay


009       Badalian saying he has video of restraining antifa   Hearsay
          breaking shit

010       Badalian saying “no attacking cops”                  Hearsay


011       Badalian saying “If they attack bldgs., they are     Hearsay
          getting rect.”
012       Badalian to Gina “We should offer to hlp             Hearsay
          authorities through a lawyer.”
013       Screenshot of smoke while Badaian is in front of     No objections.
          window
